






Opinion issued June 7, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00084-CV






LISA WRIGHT,  Appellant


V.


SUNDOWN GLEN COMMUNITY,  Appellee






On Appeal from the County Civil Court at Law No. 2

Harris County, Texas

Trial Court Cause No. 836,214






MEMORANDUM OPINION	Appellant Lisa Wright has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Lisa Wright did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Keyes and Higley .


